                                                                               Motion GRANTED.
                          THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

   UNITED STATES OF AMERICA                    )
                                               )
                                               )
   v.                                          )        No. 3:14-CR-00090-15
                                               )        JUDGE TRAUGER
                                               )
   DARNELL FINNELS                             )

                        MOTION TO SET CHANGE OF PLEA HEARING

          COMES now the Defendant, Darnell Finnels, by and through counsel David M.

   Hopkins, and respectfully moves this Honorable Court to set a change of plea hearing

   for the Defendant. As grounds for this Motion, the Defendant would state that he

   intends to enter a plea of guilty in this matter.

          Respectfully submitted this 12th day of December, 2016.


                                               /s/ David M. Hopkins
                                               David M. Hopkins (TN BPR #020134)
                                               Attorney for Defendant
                                               745 S Church Street, Suite 303
                                               Murfreesboro, TN 37130
                                               615-852-8228
                                               attydavidhopkins@gmail.com


                                   CERTIFICATE OF SERVICE

          I hereby certify that on December 12, 2016, I electronically filed the foregoing
   Motion to Set Change of Plea Hearing with the Clerk of the Court by using the CM/ECF
   system, which will send a Notice of Electronic Filing to the following: Van Vincent,
   Assistant United States Attorney, 110 Ninth Avenue South, Suite A961,
   Nashville, Tennessee 37203.


                                                        /s/ David M. Hopkins
                                                        David M. Hopkins




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